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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:16-cv-03579-SVW-AFM                                         Date   July 10, 2019
 Title             Daniel Garza v. City of Los Angeles et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                             Maria Bustillos
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                   Vincent James DeSimone                           Hasmik Jasmine Badalian Collins
                        Kaveh Navab
                        Ryann E. Hall
 Proceedings:                 FURTHER PRETRIAL CONFERENCE


       Conference held. The Court advises the parties of its rulings on certain motions. Order to issue.
The jury trial is continued to July 16, 2019 at 9:00 a.m.

         The Court orders that former Chief Beck be present on the first day of trial.




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                                                               Initials of Preparer          PMC
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